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IN THE UNITED STATES DISTRICT COURFB' JU§ - 3 P§§ 2 66
FOR THE WESTERN DISTRICT OF TENNESSE§
WESTERN DIVISION

 

 

EDGAR JOHNSON,
Plaintiff, Case `No.: 03-2567 D V
V.

HOME TECH SERVICES COMPANY, INC.,
et al.,

Det`endants.

 

ORDER REFERRING CASE TO MEDIATION

 

The Court has determined that this ease is appropriate for mediation. Theret`ore, pursuant
to Rule lS(e) of the Local Rules, this case is hereby referred to the mediation panel for resolution

IT rs so oRDERED this \5"“` day ofC>(.¢L.i .2005.

 

   

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with F§ute 58 and/or 79{a) FRCP on

 

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Honorable Bernice Donald
US DISTRICT COURT

